      Case 3:12-cv-00819-BK Document 11 Filed 06/05/12           Page 1 of 8 PageID 34


                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION


TREY SHINGLER,                              §
Plaintiff                                   §
                                            §      CIVIL ACTION NO. 3:12-cv-00819-P
vs.                                         §
                                            §
MICHAEL J. SCOTT, P.C.,                     §
Defendant                                   §


                          JOINT CASE MANAGEMENT PLAN

1.       State when the parties conferred as required by Rule 26 (f) and identify the counsel
         who conferred.

         May 11, 2012

         Dennis R. Kurz Attorney for Plaintiff Trey Shingler

         Michael J. Scott Attorney for Defendant Michael J. Scott, P.C.

2.       List the name, bar number, address, email address, and telephone number of
         counsel and any unrepresented person who will appear at the Scheduling
         Conference on behalf of the parties. Appearing counsel must be an attorney of
         record, have full authority to bind clients and enter into stipulations regarding all
         matters that may be discussed.

        Dennis R. Kurz
        Texas State Bar # 24068183
        Two Allen Center
        1200 Smith Street
        16th Floor
        Houston, TX 77002
        (888) 595-9111 ext. 412
        (866) 565-1327 (fax)
        Attorney for Plaintiff
        WEISBERG & MEYERS, L.L.C.
     Case 3:12-cv-00819-BK Document 11 Filed 06/05/12             Page 2 of 8 PageID 35


        Michael J. Scott
        Texas State Bar # 24000876
        1120 Metrocrest Dr.
        Suite 100
        Carrollton, TX 75006
        214-234-8456
        214-234-8454 (fax)
        Attorney for Defendant
        MICHAEL J. SCOTT, P.C.

3.      List the correct names of the parties to this action.

        Plaintiff: Trey Shingler

        Defendant: Michael J. Scott, P.C.

4.      List the cases related to this one that are pending in any state or federal court with
        the case number and court.

        None.

5.      Briefly describe what the case is about.

        Plaintiff Trey Shingler alleges Defendant Michael J. Scott, P.C. violated the
        Federal Fair Debt Collection Practices Act, the Texas Debt Collection Act and
        Texas Deceptive Trade Practices Consumer Protection Act in attempting to
        collect an alleged debt from Plaintiff.

        Defendant Michael J. Scott, P.C. was sued by Plaintiff Trey Shingler for
        alleged violations of Federal Fair Debt Collection Practices Act, the Texas
        Debt Collection Act and Texas Deceptive Trade Practices Consumer
        Protection Act. Defendant filed a general denial to all causes of action and
        pled affirmative defenses.

6.      Specify the allegation of federal jurisdiction.

        Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C. § 1331,
        and 28 U.S.C. § 1367(a).

7.      Name the parties who disagree and the reasons.

        Plaintiff and Defendant do not disagree with regards to jurisdiction or venue.
        However, Plaintiff and Defendant disagree as to whether Defendant Michael
      Case 3:12-cv-00819-BK Document 11 Filed 06/05/12                Page 3 of 8 PageID 36


         J. Scott, P.C. violated the statutes at issue. Plaintiff and Defendant also
         disagree as to whether Plaintiff suffered any damages and/or is entitled to any
         relief and whether or not Defendant is liable for the same.

8.       List anticipated additional parties that should be included, when they can be
         added, and by whom they are wanted.

         None at this time.

9.       List anticipated interventions.

         No interventions are anticipated at this time.

10.      Describe class-action issues.

         This matter involves no class-action issues.

11.      State whether the parties are exempt from initial disclosures under Rule
         16(A)(1)(E).

         None.

12.      Describe the proposed agreed discovery plan, including:

         A.      Responses to all the matters raised in Rule 26(f).

                 1.      Any changes that should be made in the timing, form, or
                         requirement for disclosures under Rule 26(f)

                 None.

                 2.      The subjects on which discovery may be needed, when discovery
                         should be completed, and whether discovery should be conducted in
                         phases or be limited to or focused on limited issues.

                 Plaintiff’s claims and Defendant’s affirmative defenses.

                 3.      Any issues relating to disclosure and discovery of electronically
                         stores information (ESI), including the form(s) in which it should be
                         produced.

                 None at this time.
Case 3:12-cv-00819-BK Document 11 Filed 06/05/12           Page 4 of 8 PageID 37


        4.      The steps already taken or that will be taken for preserving
                discoverable information, including ESI.

        None.

        5.      Any issues relating to claims of privilege or protection, including
                whether any agreement has been reached as to inadvertent
                production.

        None.

        6.      Any changes that should be made in the limitations on discovery
                imposed by the Rules, whether federal or local, and any other
                limitations that should be imposed.

        None.


   B.   Of whom and by when the plaintiff anticipates taking oral depositions.

        Plaintiff anticipates taking the oral deposition of the following but not
        limited to witnesses: Defendant’s corporate representatives, fact
        witnesses, and expert witnesses. Plaintiff anticipates taking these oral
        depositions within the next 120 days.

   C.   Of whom and by when the defendant anticipates taking oral depositions.

        Defendant anticipates taking the oral deposition of the Plaintiff.
        Defendant anticipates taking these oral depositions within the next 120
        days.

   D.   When the plaintiff (or the party with the burden of proof on an issue) will be
        able to designate experts and provide the reports required by Rule
        26(a)(2)(B), and when the opposing party will be able to designate
        responsive experts and provide their reports.

        Plaintiff will designate experts and provide their reports by October 5,
        2012. Defendant will designate responsive experts and provide their
        reports by November 2, 2012.

   E.   When plaintiff (or the party with the burden of proof on an issue) anticipates
        taking depositions and their anticipated completion date. See Rule
        26(a)(2)(B)(expert report).
      Case 3:12-cv-00819-BK Document 11 Filed 06/05/12           Page 5 of 8 PageID 38


               Plaintiff anticipates taking and completing expert depositions by
               December 7, 2012. The identity of said experts are unknown at this
               time.

         F.    List expert depositions the opposing party anticipates taking and their
               anticipated completion date.

               Defendant anticipates taking and completing expert depositions by
               December 7, 2012. The identity of said experts are unknown at this
               time.

         G.    Whether there should be separate deadlines for the completion of fact
               discovery and expert discovery.

               None.

         H.    If the parties disagree on any part of the discovery plan, describe the
               opposing views.

               Not applicable. Parties are in agreement on the discovery plan.

13.      Specify the discovery beyond initial disclosure that has been undertaken to date.

         Interrogatories, Requests for Production and Requests for Admissions were
         served on Defendant on May 24, 2012. To date, Defendant has not responded
         and shall on or before June 24, 2012.

14.      State the progress made toward settlement, and the present status of settlement
         negotiations by providing the information below:

         a.    Describe the possibilities for a prompt settlement or resolution of the case
               the were discussed in your Rule 26(f) meeting.

               The parties believe this matter can be resolved after some discovery has
               been conducted, which will enable the parties to better evaluate
               Plaintiff’s claims and settlement options.

         b.    Describe what each party has done or agreed to do to bring about a prompt
               resolution.

               The parties have agreed to continue settlement discussions throughout
               discovery.
      Case 3:12-cv-00819-BK Document 11 Filed 06/05/12              Page 6 of 8 PageID 39


         c.      State whether a demand and an offer have been made.

                 Plaintiff has made a demand to Defendant. Defendant has made an
                 offer to Plaintiff.

         d.      If the parties have agreed on a specific mediator, state the name and address
                 of the mediator and at what stages of the litigation mediation is most
                 appropriate.

                 The parties have not agreed to a specific mediator.

15.      Magistrate may now hear jury and non-jury trials. Indicate the parties’ joint
         position on a trial before a magistrate judge.

         The parties have not agreed to allow this matter to be tried before a
         magistrate judge.

16.      State whether a jury demand has been made and if was made on time.

         Plaintiff has made a timely jury demand.

17.      Specify the number of days it will take to present the evidence in this case.

         The parties anticipate it will take 2 days to present evidence in this case.

18.      List pending motions that could be ruled on at the initial pretrial and scheduling
         conference.

         None.

19.      List other motions pending.

         None at this time.

20.      Indicate other matter peculiar to this case, including discovery, that deserve the
         special attention of the court at the conference.

         Not applicable.

21.      Certify that all parties have filed Disclosures of Interested Parties as directed in the
         Order for Conference and Disclosure of Interested Parties, listing the date of filing
         for original and any amendments.
      Case 3:12-cv-00819-BK Document 11 Filed 06/05/12         Page 7 of 8 PageID 40


         Plaintiff filed a Disclosure of Interested Parties on March 20, 2012. Defendant
         filed a Disclosure of Interested Parties on April 23, 2012.

24.      Proposed Dates for Scheduling

         The parties will review the proposed dates in the Court’s Scheduling Order.

25.      List the name, bar numbers, address and telephone numbers of all counsel.

        Dennis R. Kurz                                  Michael J. Scott
        Texas State Bar # 24068183                      Texas State Bar # 24000876
        Two Allen Center                                1120 Metrocrest Dr.
        1200 Smith Street                               Suite 100
        16th Floor                                      Carrollton, TX 75006
        Houston, TX 77002                               214-234-8456
        (888) 595-9111 ext. 412                         214-234-8454 (fax)
        (866) 565-1327 (fax)                            Attorney for Defendant
        Attorney for Plaintiff                          MICHAEL J. SCOTT, P.C.
        TREY SHINGLER

                                                 Respectfully Submitted,

                                                 /s/ Dennis R. Kurz
                                                 Dennis R. Kurz
                                                 WEISBERG & MEYERS, L.L.C.
                                                 Two Allen Center
                                                 1200 Smith Street
                                                 16th Floor
                                                 Houston, TX 77002
                                                 Phone: (512) 436-0036 ext. 412
                                                 Facsimile: (866) 317-2674
                                                 Attorney for Plaintiff

                                                 /s/ Michael J. Scott
                                                 Michael J. Scott
                                                 Michael J. Scott, P.C.
                                                 1120 Metrocrest Dr.
                                                 Suite 100
                                                 Carrollton, TX 75006
                                                 214-234-8456
                                                 214-234-8454 (fax)
                                                 Attorney for Defendant
   Case 3:12-cv-00819-BK Document 11 Filed 06/05/12          Page 8 of 8 PageID 41


                           CERTIFICATE OF SERVICE

       I certify that on June 5, 2012, a true and correct copy of the foregoing was filed
with the Clerk of the U.S. District Court, Northern District of Texas using the Court’s
CM/ECF system. A copy of the foregoing was served on Defendant, Michael J. Scott,
P.C., through counsel of record, Mr. Michael J. Scott, Michael J. Scott, P.C., 1120
Metrocrest Dr., Suite 100, Carrollton, TX 75006, electronically via the Court’s CM/ECF
system.

                                               /s/ Dennis R. Kurz
                                               Dennis R. Kurz
